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Case 2:19-mj-00344-MAT Document 1 Filed 07/29/19 Page 1 of 12

 

 

 

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Honorable Mary Alice Theiler

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

 

 

UNITED STATES OF AMERICA,

Plaintiff,
Vv.

PAIGE A. THOMPSON,
a/k/a “erratic”

Defendant.

 

 

Case No. MJ19-0344

COMPLAINT FOR VIOLATION OF
18 U.S.C. § 1030(a)(2)

Before, the Honorable Mary Alice Theiler, United States Magistrate Judge, United

States Courthouse, 700 Stewart Street, Seattle, Washington.

COUNT 1

(Computer Fraud and Abuse)

Between on or about March 12, 2019, and on or about July 17, 2019, at Seattle,
within the Western District of Washington, and elsewhere, PAIGE A. THOMPSON

intentionally accessed a computer without authorization, to wit, a computer containing

information belonging to Capital One Financial Corporation, and thereby obtained

information contained in a financial record of a financial institution and of a card issuer

THOMPSON COMPLAINT / No. MJ19-344 - |

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
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Case 2:19-mj-00344-MAT Document 1 Filed 07/29/19 Page 2 of 12

as defined in Section 1602 of Title 15, and information from a protected computer, and
the value of the information obtained exceeded $5,000.

All in violation of Title 18, United States Code, Section 1030(a)(2)(A) and (C),
and (c)(2)(A) and (B)(iii).

The undersigned complainant being duly sworn states:

I. I, Joel Martini, am a Special Agent with the Federal Bureau of Investigation
(FBI), currently assigned to the Seattle Field Office, and have been so employed since
January 2017. I am assigned to the Cyber Squad, where I investigate computer intrusions
and other cybercrimes. Prior to my employment as a Special Agent, I worked as a
Computer Forensic Examiner for the FBI for approximately five years. The facts set
forth in this Complaint are based upon my personal knowledge, information I have
received from others during the course of my investigation, and my review of relevant
documents.

2. I am the case agent responsible for an investigation of PAIGE A.
THOMPSON, also known by the alias “erratic,” for intruding into servers rented or
contracted by a financial services company and issuer of credit cards, namely, Capital
One Financial Corporation (“Capital One”), from a company that provides cloud
computing services (the “Cloud Computing Company”), and for exfiltrating and stealing
information, including credit card applications and other documents, from Capital One.

I. SUMMARY OF THE INVESTIGATION

3. The FBI is conducting an investigation into a network intrusion into servers
rented or contracted by Capital One. Capital One is a financial services company that,
among other things, issues credit cards.

4, Evidence linking PAIGE A. THOMPSON to the intrusion includes the fact
that information obtained from the intrusion has been posted on a GitHub page that
includes PAIGE A. THOMPSON’s full name — paigea*****thompson — as part of its
digital address, and that is linked to other pages that belong to PAIGE A. THOMPSON

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SEATTLE, WASHINGTON 98101

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Case 2:19-mj-00344-MAT Document1 Filed 07/29/19 Page 3 of 12

and contain her resume. In addition, records obtained from Capitol One indicate that
Internet Protocol addresses used by the intruder are controlled by a company that
provides virtual private network services and that was used by PAIGE A. THOMPSON
to make postings on the internet service GitHub, including very close in time to
intrusions. Moreover, PAIGE A. THOMPSON also has made statements on social media
fora evidencing the fact that she has information of Capital One, and that she recognizes
that she has acted illegally.
Il. TERMS AND DEFINITIONS

5. For the purpose of this Affidavit, I use the following terms as described
below:

a. A server is a computer that provides services for other computers
connected to it via a network or the internet. The computers that use the server’s services
are sometimes called clients. Servers can be physically located anywhere with a network
connection that may be reached by the clients. For example, it is not uncommon for a
server to be located hundreds (or even thousands) of miles away from client computers.
A server may be either a physical or virtual machine. A physical server is a piece of
computer hardware configured as a server with its own power source, central processing
unit or units, and associated software. A virtual server typically is one of many servers
that operate on a single physical server. Each virtual server shares the hardware
resources of the physical server, but the data residing on each virtual server is segregated
from the data on other virtual servers on the same physical machine.

b. An Internet Protocol address (an “IP address’’) is a unique numeric
address used by devices, such as computers, on the internet. Every device attached to the
internet is assigned an IP address, so that internet traffic sent from, and directed to, that
device may be directed properly from its source to its destination. Most internet service
providers control a range of IP addresses. Generally, a static IP address is permanently
assigned to a specific location or device, while a dynamic IP address is temporary and

periodically changes.

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SEATTLE, WASHINGTON 98101

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Case 2:19-mj-00344-MAT Document1 Filed 07/29/19 Page 4 of 12

c. The Onion Router (or “TOR”) is an anonymity tool used by
individuals to conceal their identities, including the origin of their internet connection,
that is, their IP addresses. TOR bounces communications through several intermediate
computers (relays), each of which utilizes encryption, thus anonymizing the IP address of
the computer of the individual using TOR.

d. A virtual private network (a “VPN”) is a secure connection over a
less secure network, such as the internet. A VPN uses shared public infrastructure, but
maintains privacy through security procedures and tunneling protocols. It encrypts data
at the sending end, decrypts it at the receiving end, and sends the data through a "tunnel"
that cannot be "entered" by data that is not properly encrypted. A VPN also may encrypt
the originating and receiving network addresses.

6. Throughout this Affidavit, I also refer to a number of companies and to
services that they offer:

a. GitHub is a company that provides webhosting and allows users to
manage and store revisions of projects. Although used mostly for software development
projects, GitHub also allows users to manage other types of files.

b. IPredator is a company that offers prepaid VPN service to
customers, using servers based in Sweden.

c. Meetup is an Internet-based platform designed to let people find and
build local communities, called “groups.” .

d. Slack is a cloud-based set of team-collaboration software tools and
online services. Slack allows users to establish “channels,” in which a team can share
messages, tools, and files.

€. Twitter is company that operates a social networking site that allows

users to establish accounts, post short messages, and receive other users’ messages.

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SEATTLE, WASHINGTON 98101

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Case 2:19-mj-00344-MAT Document 1 Filed 07/29/19 Page 5 of 12

Ul. THE INVESTIGATION
As The Intrusion and Exfiltration

t Capital One is a bank holding company that specializes in credit cards, but
that also offers other credit, including automobile loans, as well as a variety of bank
accounts. Capital One offers credit cards and other services to customers throughout the
United States. Capital One supports its services, in part, by renting or contracting for
computer servers provided by the Cloud Computing Company. The servers on which
Capital One stores credit card application and other information generally are located in
states other than the State of Washington, and they store information regarding
customers, and support services, in multiple states. Deposits of Capital One are insured
by the Federal Deposit Insurance Corporation. Based upon these facts, Capital One is a
financial institution and a card issuer, and the computers on which it stores credit card
applications are protected computers as those terms are defined in 18 U.S.C. § 1030(c).

8. Capital One maintains an e-mail address through which it solicits
disclosures of actual or potential vulnerabilities in its computer systems, so that Capital
One can learn of, and attempt to avert, breaches of its systems. Among others who send
e-mails to this address are individuals who sometimes are called “ethical” or “white hat”
hackers.

9. On July 17, 2019, an individual — who previously was unknown to Capital

One — e-mailed this address.

r Responsible Disclosure (Shared) <responsibledisclosure@capitalone.com>
Capital One @

[External Sender] Leaked s3 data

 

Wed, Jul 17, 2019 at 1:25 AM
To: “responsibledisclosure@capitalone.com" <responsibledisclosure@capitalone.com>

Hello there,

There appears to be some leaked $3 data of yours in someone's github / gist:
ccc eas 0 ESSERE ae eer eee a)
Let me know if you want help tracking them down.

Thanks,

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SEATTLE, WASHINGTON 98101
(206) 553-7970
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Case 2:19-mj-00344-MAT Document 1 Filed 07/29/19 Page 6 of 12

The individual’s e-mail stated that there appeared to be leaked data belonging to Capital
One on GitHub, and provided the address of the GitHub file containing this leaked data.
The address provided for this file was https://gist.github.com/*****/*****, [Throughout
this affidavit, I use ***** to substitute for other characters, sometimes fewer, but often
more, than five characters.] Significantly, one of the terms in this address was what I
know from Department of Licensing records to be PAIGE A. THOMPSON’s full first,
middle, and last name.

10. After receiving this information, Capital One examined the GitHub file,
which was timestamped April 21, 2019 (the “April 21 File”). Capital One determined
that the April 21 File contained the IP address for a specific server. A firewall
misconfiguration permitted commands to reach and be executed by that server, which
enabled access to folders or buckets of data in Capital One’s storage space at the Cloud
Computing Company.

11. Capital One determined that the April 21 File contained code for three
commands, as well as a list of more than 700 folders or buckets of data.

™@ Capital One determined that the first command, when executed,
obtained security credentials for an account known as *****-WAF-Role
that, in turn, enabled access to certain of Capital One’s folders at the
Cloud Computing Company.

M@ Capital One determined that the second command (the “List Buckets
Command”), when executed, used the *****-WAF-Role account to list
the names of folders or buckets of data in Capital One’s storage space at
the Cloud Computing Company.

@ Capital One determined that the third command (the “Sync Command”),
when executed, used the *****-WAF-Role to extract or copy data from
those folders or buckets in Capital One’s storage space for which the

***** WAF-Role account had the requisite permissions.

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SEATTLE, WASHINGTON 98101

(206) 553-7970
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Case 2:19-mj-00344-MAT Document 1 Filed 07/29/19 Page 7 of 12

12. Capital One tested the commands in the April 21 File, and confirmed that
the commands did, in fact, function to obtain Capital One’s credentials, to list or
enumerate folders or buckets of data, and to extract data from certain of those folders or
buckets. Capital One confirmed that the more-than-700 folders or buckets of data listed
in the April 21 File matched the actual names of folders or buckets of data used by
Capital One for data stored at the Cloud Computing Company. Capital One reported that
its computer logs reflect the fact that the List Buckets Command was in fact executed on
April 21, 2019, and that the timestamp in Capital One’s logs matches the timestamp in
the April 21 File.

13. | According to Capital One, its logs show a number of connections or
attempted connections to Capital One’s server from TOR exit nodes, and a number of
connections from IP addresses beginning with 46.246, all of which Capital One believes
relate to activity conducted by the same person involved in the April 21, 2019, intrusion,
because they involve similar unusual communications through the misconfigured firewall
to the server discussed above. Specifically, according to Capital One, the logs show:

@ On or about March 12, 2019, IP address 46.246.35.99 attempted to
access Capital One’s data. I know, from checking publicly-available
records, that this IP address is controlled by IPredator, a company that
provides VPN services.

@ On or about March 22, 2019, the *****-WAF-Role account was used to
execute the List Buckets Command several times. These commands
were executed from IP addresses that I believe to be TOR exit nodes.
According to Capital One, the *****-WAF-Role account does not, in
the ordinary course of business, invoke the List Buckets Command.

HM Also on or about March 22, 2019, the *****-WAF-Role account was
used to execute the Sync Command a number of times to obtain data
from certain of Capital One’s data folders or buckets, including files

that contain credit card application data. A number of those commands

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SEATTLE, WASHINGTON 98101

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Case 2:19-mj-00344-MAT Document 1 Filed 07/29/19 Page 8 of 12

were executed from IP address 46.246.38.224. I know, from checking
publicly-available records, that that IP address also is controlled by
Predator.

™ One of the files copied from Capital One’s folders or buckets on March
22, 2019, was a file with the name *****cOQ00.snappy.parquet (the
“Snappy Parquet File”), and this was the only time the *****-WAF-
Role account accessed the Snappy Parquet File between January 1, 2019
and July 20, 2019.

@ A List Buckets Command was executed on April 21, 2019, from IP
address 46.246.35.103. I know, from checking publicly-available
records, that the IP address from which this command was executed also
is controlled by IPredator. I also believe, based on the timestamp on the
April 21, 2019 file, and the time that Capital One reports that the
command appears in Capital One’s logs, that this was the command that
was the source of the April 21 File.

14. According to Capital One, the data copied from Capital One’s data folders
or buckets includes primarily data related to credit card applications. Although some of
the information in those applications (such as Social Security numbers) has been
tokenized or encrypted, other information including applicants’ names, addresses, dates
of birth and information regarding their credit history has not been tokenized. According
to Capital One, the data includes data regarding large numbers of applications, likely tens
of millions of applications. According to Capital One, that data includes approximately
120,000 Social Security Numbers and approximately 77,000 bank account numbers.

B. Evidence of PAIGE A. THOMPSON’s Involvement

15. | As noted above, the GitHub address where the April 21 File was posted
includes PAIGE A. THOMPSON’s full name, paigea*****thompson. Clicking on the
name paigea*****thompson in the address takes the user to the main GitHub page for a

PAIGE A***** THOMPSON. The profile on that page contains a link to a GitLab page

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SEATTLE, WASHINGTON 98101

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Case 2:19-mj-00344-MAT Document 1 Filed 07/29/19 Page 9 of 12

at www.gitlab.com/net***** (the “GitLab Net***** Page”). The GitLab Net***** Page
includes, among other things, a resume for “Paige Thompson.” That resume indicates
that Paige Thompson is a “systems engineer” and formerly worked at the Cloud
Computing Company from 2015-16. Based on this evidence, I believe that PAIGE A.
THOMPSON is the user of the GitHub and GitLab accounts described herein.

-16. An April 19, 2019, post in the GitHub account of “paigea*****thompson”
includes a “Server List” of IP addresses associated with the account. All of the IP
addresses in the Server List begin with 46.246. I have confirmed by checking publicly-
available records that each of the IP addresses in the “Server List” is controlled by
Predator, the same VPN provider that controls multiple IP addresses from which Capital
One reports malicious activity in this case, including malicious activity on April 19,
2019.

17. | Based on open source research, I am aware of a particular Meetup group
used by PAIGE A. THOMPSON. The Meetup page for this group indicates that its
organizer is “Paige Thompson (erratic).” Notably, the alias “erratic” matches the
username of a Twitter account, discussed below, associated with PAIGE A.
THOMPSON. Within that Meetup group is a Slack invitation code for the Slack channel
net***** slack.com (the “Net***** Slack Channel”).

18. Ihave reviewed postings on the Net***** Slack Channel. Among other
things, on or about June 26, 2019, a user “erratic” posted a list of files that “erratic”
claimed to possess. Among those files, two referenced “*****-WAF-Role.” Based on
my review of the Sync Command in the April 21 File, and my training and experience, I
know that the Sync Command would place extracted files in a directory with the name
‘kA WAF-Role.” Accordingly, I believe that, “erratic” was claiming to have files
extracted using the extraction command set forth in the April 21 File.

19. Onor about June 27, 2019, “erratic” posted about several companies,
government entities, and educational institutions. Among these posts, “erratic” referred

to “***** WAF-Webrole” and indicated that account was associated with Capital One.

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Case 2:19-mj-00344-MAT Document1 Filed 07/29/19 Page 10 of 12

Based on my training and experience, these communications appear to be references by
“erratic” to other intrusions that “erratic” may have committed.
20. On or about June 27, 2019, another user posted “don’t go to jail plz.” In

response, “erratic” posted “Im like > ipredator > tor > s3 on all this shit.”

g TE «2201

sketchy shit
don't go to jail plz
<erratic> APP 12:01 PM
3 wa Wa Wa Wa, Wa Wa Wa Wa Wa Wa Wawaaaaaaaaaaaa
Im like > ipredator > tor > s3 on all this shit ..
| wanna get it off my server thats why Im archiving all of it lol
its all encrypted
| just dont want it around though
| gotta find somewhere to store it
that infobloxcto one is interesting

they have > 500 docker containers

 

 

 

I understand this to refer to the method PAIGE A. THOMPSON used to commit the
intrusion. “[E]rratic’” also posted “I wanna get it off my server that’s why Im archiving
all of it lol.”

21. According to a screenshoot that Capital One provided, and that I have
reviewed, on or about June 27, 2019, the user “paige*****” posted, “I’ve also got a leak
proof [Predator router setup if anyone nneds [sic] it,” as well as a GitHub link that
included “paigea*****thompson” in the link. I was not able to locate this post on
GitHub myself, although that may be because it since has been deleted.

22. According to a screenshot that Capital One provided, and that I have
reviewed, on or about July 4, 2019, the user “paigea*****” posted a message seeking

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SEATTLE, WASHINGTON 98101

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Case 2:19-mj-00344-MAT Document 1 Filed 07/29/19 Page 11 of 12

information about the Snappy Parquet File, one of the files exfiltrated from Capital One
on March 22, 2019.

23. Onor about July 19, 2019, the user “paigea*****” posted information
about one of her pets. Included in the post was an estimate from a veterinarian dated
June 10, 2019, provided to “Paige Thompson” at the same address listed on the “Paige
Thompson” resume described above. Based upon the information in the preceding
paragraphs, I believe that PAIGE A. THOMPSON is the person who posted under the
names “erratic” and “paigea*****” on the Net***** Slack Channel.

24. [have learned, from Capital One and through open-source research, of a
Twitter account name @0xA3A97B6C, with a username “ERRATIC.” I have reviewed
photographs posted to the account of “ERRATIC,” and they appear to depict the same
individual who appears in photographs posted on the Net***** Slack Channel under the
username “paigea*****.”” Based upon the information in the preceding paragraphs, I
believe that PAIGE A. THOMPSON is the user of the “ERRATIC” Twitter account.

25. According to a screenshot that Capital One provided, on June 18, 2019,
Twitter user “ERRATIC” sent a direct message to the reporting source: “Ive basically
strapped myself with a bomb vest, fucking dropping capitol ones dox and admitting it. I

wanna distribute those buckets i think first.”

lve basically strapped myself with a bomb vest, fucking
dropping capitol ones dox and admitting it

&) | wanna distribute those buckets i think first

Jun 18, 2019, 12:04 AM

&) There ssns...with full name and dob

Jun 18, 2019, 12:06 AM

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SEATTLE, WASHINGTON 98101

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Case 2:19-mj-00344-MAT Document1 Filed 07/29/19 Page 12 of 12

I understand this post to indicate, among other things, that PAIGE A. THOMPSON
intended to disseminate data stolen from victim entities, starting with Capital One.
Cc. The Search of PAIGE A. THOMPSON’s Residence

26. On July 26, 2019, I obtained a search warrant to search PAIGE A.
THOMPSON ’s residence for evidence in this case. On July 29, 2019, other FBI Special
Agents and I executed that search warrant. Five individuals, including PAIGE A.
THOMPSON, were present at the residence.

27. A search of a bedroom believed to belong to PAIGE A. THOMPSON
resulted in the seizure of numerous digital devices. During the initial search of some of
these devices, agents observed files and items that referenced Capital One and the Cloud
Computing Company, other entities that may have been the targets of attempted or actual
network intrusions, and “erratic,” the alias associated with PAIGE A. THOMPSON.

28. Based on the foregoing, I submit that probable cause exists to believe that
PAIGE A. THOMPSON has committed a violation of Title 18, United States Code,
Section 1030(a)(2).

 
 

ach MARTINI, Complainant
pecial Agent -
Federal Bureau of Investigation

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, I hereby find that there is probable cause to believe the defendant committed
the offense set forth in the Complaint.

Complaint and affidavit sworn to me before this 257 day of July, 2019.

 

MARY ALICE THEILER
United States Magistrate Judge

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(206) 553-7970
